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                             IN THE LTNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                          )
                                                   )
                Plaintiff,                         )       CRIMINAL NO 17-3246 MY
                                                   )
       VS                                          )       18 U.S.C. $1594(c): Conspiracy to
                                                   )       Commit Sex Trafficking.
KERON LUCIOUS,                                     )
                                                   )
                Defendant.                         )


                             SUPERSEDING INFORMATION
The United States Attorney charges:

       Between on or about April2017 and June 2017, in Bernalillo County, in the District      of

New Mexico, KERON LUCIOUS, unlawfully, knowingly and intentionally combined,

conspired, confederated, agreed and acted interdependently with Breaunna Langton, Devin

Perkins, Jason Jackson, and other known and unknown to the United States Attorney to commit

Sex Trafficking, as defined    in 18 U.S.C. $ 1591(a)(2)   and (bX2)

       In violation of 18 U.S.C. $ 1594(c).

                                                       Respectfully Submitted,

                                                       FRED J. FEDERICI
                                                       Acting United States Attorney




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